Case 1:10-cv-08858-RMB-MHD Document 122 Filed 02/06/12 Page 1 of 8




                     Exhibit 2
Case 1:10-cv-08858-RMB-MHD Document 122 Filed 02/06/12 Page 2 of 8
Case 1:10-cv-08858-RMB-MHD Document 122 Filed 02/06/12 Page 3 of 8
Case 1:10-cv-08858-RMB-MHD Document 122 Filed 02/06/12 Page 4 of 8
Case 1:10-cv-08858-RMB-MHD Document 122 Filed 02/06/12 Page 5 of 8
Case 1:10-cv-08858-RMB-MHD Document 122 Filed 02/06/12 Page 6 of 8
Case 1:10-cv-08858-RMB-MHD Document 122 Filed 02/06/12 Page 7 of 8
Case 1:10-cv-08858-RMB-MHD Document 122 Filed 02/06/12 Page 8 of 8
